                                     ______________________________________


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Fill   m this information to ictontity      your   case:

United    States Bankruptcy Court for the:


CENTRAL DISTRICT OF CALIFORNIA


Case number         (if known)                                                        Chapter        11
                                                                                                                                            Check it this an
                                                                                                                                            amended Ning




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                                            08122


                                                         form. On the top of any additional page. wrIte the debtor’s
                                                                                                                       name and                       the case number (It
If more space I. needed, attach a separate sheet to thls
                                 separat.             instructions              for
                                                                       Bankruptcy  Fonns  for Non-Individu als, is available.
known). For more  InformatIon, a          document,




1.      Debtor’s    name                   ASLM Investments Inc.



2.      All other   names        debtor
        used   In the last       8 years
        include anyassumed
        names, trade names and
        doing business as names

3.      Debtor’s federal
        Employer IdentlflcaUon             872458412
        Number (EIN)



                                                                                                               Mailing address, If   different from   principal place of
4.      Debtor’s address                   PrIncipal place of business
                                                                                                               bus Ineas

                                           11231 Parkmead        Street                                        12868 Claremore Street
                                           Santa Fe Springs, CA 90670                                          Victorville, CA 92392
                                           Number, Street, City, State & ZIP Code                              P.O. Box, Number, Street, City, State & ZIP Code


                                                                                                               LocatIon of principal   assets, If dIfferent from   principal
                                           Los Angeles
                                                                                                               place of business
                                           County
                                                                                                               1990   Oceanside Blvd Oceanside,           CA   92054
                                                                                                               Number, Street, City, State & ZIP Code


6.      Debtor’s webslte (URL)


6.     Type of debtor                          Corporation (lncludmg Limited Liability Company (tiC) and Limited Liability Partnership (LLP))
                                           D   Partnership (excluding LLP)
                                           Q   Other. Specify:




Official Form 201                                   Voluntary    PetitIon for Non-Individuals   FIling for   Bankruptcy                                              page 1
             Case 2:23-bk-11778-BR                           Doc 1 Filed 03/24/23 Entered 03/24/23 18:34:50                                     Desc
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                                                                                                     CMS number   (WknOwn)
Debtor     ASLM Investments Inc.
           Name


7.    Pescrlbe debtor’s business A. Check one:
                                     Health Care Business (as defined in 11 U.S.C. § 10l(27A))
                                 Q SWgIeAsset Real Estate (as defined (nil U.S.C. § i01(51B))
                                 ( Railroad (as defined in 11 U.S.C. § 101(44))
                                            Stockbroker (as defined in 11 U.S.C. § 101 (53A))
                                            Commodity Broker (as defined in ii U.S.C. § 101(6))
                                            Cleanng Bank (as defined In ii U.S.C. § 781(3))
                                            None of the above

                                      B. Check all that apply
                                      []Tax.exempt entity (as described in 26 U.S.C. §501)
                                      [] Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                      D Investment advisor (as defined in 15 U.S.C. 80b-2(a)(1i))
                                      C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http:llwww.uscourts.oov/four-dlolt.national-associatiofl-naiCscOdeS.



8.   Under which chapter of the Chec* one:
     Bankruptcy Cod. Is tire
     debtor filing?                  Q Chapter 7
     A debtor who is a ‘small        D Chapter 9
     business debtor must check J Chapter 11. Check all that apply.
     the lust sub-box, A debtor as                    The debtor is a small business debtor as defined in 11 U.S.C. § iD1(51D), and its aggregate
                                                              D
     defined in § 1182(i)who                          noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                          $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                       operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is a                  exist, follow the procedure in 11 U.S.C. § i116(1)(B).
     “small business debtor) must
     check the second sub-box.                   [J The debtor is a debtor    as defined in 11 U.S.C. § 1182(1), its aggregate nonconlingent liquidated
                                                      debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and It choose, to
                                                      proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                      balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                      any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                              D    A plan Is being flied with this petition.
                                                                   Acceptances attire plan were solicited prepetilion from one or more classes of creditors, in
                                                                   accordance with it U.S.C. § 1126(b).
                                                              C    The debtor is required to file periodic reports (for example. 10K and 100) with the Securities and
                                                                   Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                   Attachment to Voluntary Petition for Nan-Individuals FlUng for Bankruptcy under Chapter 11
                                                                   (Official Form 201A) with this form.
                                                              [J   The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2
                                      Q    Chapter 12

9.   Wor. prior bankruptcy            I1   No.
     cases fifed by or against
     the debtor with In the last 8
                                      fl Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                               When                                Case number
                                                  District   —                           When                                Case number

10. Are any bankruptcy CU.,           [J   No
    pending or beIng filed by a       [] Yes.
    business partner or an
    affiliate of the debtor?




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                                                                                                                _____________________________


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                                                                            Main Document    Page 3 of 13
                                                                                                                                     Case number          (it known)
 Debtor      ASLM investments Inc.

        List all case,. If more than I                                                                                                                                                                    Affiliate of the
        attach a separate list                                   Debtor      Highland Cargo. Inc.                                                                  Relationship                           Debtor


                                                                             Central District of
                                                                 District    California                           Wlen        3124/23                              Case    number, if knQwn



 11.    Why is the case flied       in       Check all that apply:
        this district?                       j]        Debtor has had its domicile, principal place of business, or principal assets in this district for 180                                 days immediately
                                                       preceding the date of this petition or for a longer part of such 180 days than in any other diatnot.
                                             D         A bankruptcy case concerning debtors affiliate, general partner, or partnership is pending in this district,


 12.    Does   the   debtor own or                No
                                                                                                        that needs   immediate attention. Attach additional sheets if                    needed.
            )I                               0 Yes.         Answer below          for each   properly

        property that needs
        Immediate attention?                                Why does the property             need immediate attention?                   (Check all Ihat apply,)

                                                            [J       It poses or is alleged to pose a threat of imminent and Identifiable hazard to public health or safety.
                                                                 What Is    the   hazard?

                                                            []                          secured or protected from the weather.
                                                                     It needs to be physically

                                                            [] It Includes perishable goodsmeat,
                                                                                             or assets that could quickly deteriorate or lose value without attention (for example,
                                                                                                 dairy, produce, or securities-related assets or other options).
                                                                 vestock,     seasonal goods,
                                                            Q Other
                                                            Where Is        the property?

                                                                                                        Number,   Street,   City, State & ZIP Code

                                                            Is the property Insured?

                                                            []No
                                                                                        agency
                                                            [] Yes.         Insurance

                                                                            Contact   name

                                                                            Phone




            Statistical and administrative information

13.    Debtor’, estimation     of        .             Check one:
       available funds                                 jj Funds will be available for distribution             to unsecured creditors.


                                                       [1   After      any administrative expenses are paid, no funds                    will   be available to        unsecured creditors.

14.    EstImated     number of
                                         [] 1-49                                                               1,000-5,000                                                [] 25,001-50,000
       creditor,                         0 50-99                                                               5001-10,000                                                    50,001-100,000
                                         [3 100-199                                                       [3   10,001-25,000                                              [] More thanlo0,000
                                         [3 200-999
16. Estimated Assets                     [] $0- $50,000                                                   [ $1,000,001 $10 million
                                                                                                                             -                                            [3 $500,000,001 $1 billion
                                                                                                                                                                                              -



                                                                                                          [3 $10,000,001 $50 million                                      [3 $1,000,000,001 $10 billion
                                         R[3   $50,001 $100,000
                                                             -


                                               $100,001 $500,000 -



                                               $500,001 $1 million
                                                                 -
                                                                                                          [3 $50,000,001 $100
                                                                                                                                 -


                                                                                                                                 -



                                                                                                          [3 5100,000,001 $500 rnlliori
                                                                                                                                     -
                                                                                                                                                 milion


                                                                                                                                                                          [3 More than $50 billion
                                                                                                                                                                                                  -


                                                                                                                                                                          [3 $10,000,000,001 $50 billion

16.    Estimated liabIlItIes             [3 $0- $50,000                                                        $1,000,001    -   $10 million                              [J $500,000,001 $1 billion
                                                                                                                                                                                              -


                                         [3 $50,001 $100,000 -                                            [3 $10,000,001         -$50 million                             [3 51,000.000,001 $10 billion
                                                                                                                                                                                                  -




                                         [1 $100,001 $500,000    -                                        [3 550,000,001         -   $100 million                         [3 $10,000,000,001 $50 billion
                                                                                                                                                                                                      -


                                         [3 $500,001 $1 million  -                                        [3 $100,000,001            -   $500 million                     [3 More than $50 billion




Official Form 201                                      Voluntary Petition for Non-Individual. Fitin for Bankruptcy                                                                                              page   3
                                                                                                             _




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                                                                                                       Caae number   (if known)
Debtor     ASLM Investments Inc.
           Nrno


           Request for Relief, Declaration, and Signatures

                                                                                                                   can result in fines up to $500000 or
WARNING      —   Bankruptcy fraud is a serious Dime. Making a false statement in connection with a bankruptcy case
                 rriprisonment for up to 20 years, or both. 18 U.S.C. § 152, 1341  1519, and 3571.

17. DeclaratIon and signature
    of authorized                    The debtor requests relief in accordance with the chapter of tItle 11, United States Code, specified in this petition.
    representativ, of debtor
                                     I have been authorized to file this petition on behalf of the debtor.

                                     I have examined the information in his petition and have a reasonable belief that the information is true and correct.

                                     I declare under penalty of pequry that the foregoing is true and correct,

                                     Executed on         9/
                                                      MM 1’DD I YYYY

                                 x_______                  __                                                Mandsep Singh
                                                                                                             Printed name
                                      representative of debtor
                                     Signature of authorized

                                     Title   President




18. Signature of attorney        X      /-/,Zí’L                                                              Data            3/Z   Ø€:
                                     Signet e of attorney for debtor                                                   MM/DD/YYYY

                                     Michael Jay Berger
                                     Printed name

                                     Law Offices of Michael Jay BorqLer
                                     Firm name

                                     9454 Wilshire Boulevard, 6th floor
                                     Beverly Hills, CA 90212
                                     Number, Sheet, City, State & ZIP Code

                                     Contact phone     (310) 271-6223                Email address      michael.bergerbankruptcypower.com


                                     100291 CA
                                     Bar number and State




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                                                                                        _____
                                                                             ___________




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                                                                                        Case number (itkno)
 Dabor     ASLM Investments Inc.


                                                                                                                                  Affiliate of the
      List all cases, It more than 1                                                                      Relationship
      attach a separate list               Debtor      CA Techies inc.                                                            Debtor
                                                       Central District of
                                           D$strlct    California             When     3124123            Case number, if known




      List all cases. If more than 1,                                                                                             Affiliate of the
      attach a separate list               Debtor      ASLM Gas Inc.                                      Relationship            Debtor
                                                       Central District of
                                           District    California             when    3124123             Case number, if known




Official Form 201                       Voluntary Petition for NonIndMduals Filing for Bankruptcy                                       page 5
                              ______________________________

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  Debtor name I ASLM Investments Inc.
  United States Bankruptcy Court for the: CENTRAL DISTRICT OF                                                                          D Check if this is an
                                          CALIFORNIA
  Case number (if known):                                                                                                                  amended filing




 Official Form 204
 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
 Are Not Insiders                                                                           12115

 A list of creditors holding the 20 largest unsecured claims must be filed In a Chapter 11 or Chapter 9 case. include claims whIch the
 debtor disputes. Do not Include claims by any person or entity who Is an Insider, as defined in 11 U.S.C. § 101(31). Also, do not
 include claims by secured creditors, unless the unsecured claim resulting from Inadequate collateral value places the creditor
 among the holders of the 20 largest unsecured claims.

  Name at creditor and N.m., telephone mimb.r. Nature of clakri                Indict. Itlaim     Amount of cl.lrn:..
  complete marnng amss ad .en.ii addmU of      (for example fred.               ii contingent,    it Uie ciami is filly unsecured   SI hon)y unsecwed claim amount   It
  Including zip code   cr.dltorcont.ct         debts, bank icans               unlkiuldifid or daim le perfidy secured M ki toiL claim amount and deducVon for
                                                      prebs.lon& services         disputed     value of collateral or WiLl to caladate unsecured cfalm
                                                      and government                              Tatil GIJE% W             Deduction for value     Unaacumd claim
           •.                 .    ....       .
                                                  —   mflcts)                                             seciesd   of colaleiL or satoff
  A J Dudheker                                                                                        $1,300,000.00               $0.00                 $1,300,000.00
  Mortgage Broker,
  Owner
  17100 Norwak Blvd.,
  Ste 112
  Cerritos, CA 90703
  California State                                    Last 3 quarters                                                                                     $100,000.00
  Board of Equaliz.
  P0 Box 94289
  Sacramento, CA
  94279
  Diamond Stone                                       Merchant cash                                                                                    $1,200,000.00
 Capital                                              advance
 663 East Crescemt
 Ave
 Ramsey, NJ 07446
 Mulligan Funding,                                    Merchant cash                                                                                      $150,000.00
 LLC                                                  advance
 4715 Vlewridge
 Ave., Ste 100
 San Diego, CA
 92123
 Newco Capital                                        Merchant Cash                                                                                      $300,000.00
 Group                                                Advane
 90 Broad St Ste 903
 New York, NY 10004
 Open Bank                                            Address is 390 W                                $4,100,000.00                         $0.00      $4,100,000.00
 1000 WIlshire Blvd.,                                 Aten Rd., Imperial,
 #500                                                 CA 92251
 Los Angeles, CA
 90017
 Samson Funding                                       Merchant cash                                                                                      $450,000.00
 17 State Street                                      advance
 New York, NY 10004




OWcaI form 204                       Chapter 11 or Chapter 9 Cases: Llat of Creditors V4io Have liii 20 Largest unsecured claims                           pace I
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                                                      United States Bankruptcy Court
                                                         Central District of California

   In re    ASLM   Investments Inc.                                                                             Case No.
                                                                               Dcbtor(s)                        Chapter        11

                                                  LIST OF EQUITY SECURITY HOLDERS
 Following is the list of the Debtors equity security holders which is prepared in accordance with rule l007(aX3) for filing in this Chapter II Case

  Name and last known address or place of                   Security Class Number of Securities                            Kind of Interest
  business of holder
  Mandeep SJnh                                                                                                             100%
  1990 OceansIde Blvd.
  OceansIde, CA 92054


 DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

          I, Mandeep Singh, as the President of the corporation named as the debtor in this case, declare under penalty of
 perjury that I have read the foregoing List of Equity Security Holders and that it is true and correct to the best of my
 information and belief.

                                    3 (Z
  Date
                                             L                          Signare                             ,
                                                                                                                                    L
                                                                                       Mandeep Singh                       I


                   Penalfyfor making afaise slatemeni of conceahag properly: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                  18 U.S.C. § 152 and 3571.




Sheet I of tin List of Equity Security Holders
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                                  STATEMENT OF RELATED CASES
                               INFORMATION REQUIRED BY LBR 1015-2
                UNITED STATES BANKRUPTCY COURT, CENTRAL DISTRICT OF CAUFORNIA
   1.    A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform Act of 1978 has previously been filed by or
         against the debtor, his/her spouse, his or her current or former domestic partner, an affiliate of the debtor, any
         copartnership or joint venture of which debtor is or formerly was a general or limited partner, or member, or any
         corporation of which the debtor is a director, officer, or person in control, as follows: (Set forth the complete number
         and title of each such of prior proceeding, date filed, nature thereof, the Bankruptcy Judge and court to whom
         assigned, whether still pending and, if not, the disposition thereof. if none, so indicate. Also, list any reai property
         included in Schedule NB that was filed with any such prior proceeding(s).)
      CA Techies Inc.
      ASL.M Ga. Inc.
      HiQhland Caro3 Inc.

  2.  (If petitioner is a partnership or joint venture) A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform
      Act of 1978 has previously been filed by or against the debtor or an affiliate of the debtor, or a general partner in the
      debtor, a relative of the general partner, general partner of, or person in control of the debtor, partnership in which the
      debtor is a general partner, general partner of the debtor, or person in control of the debtor as follows: (Set forth the
      complete number and title of each such prior proceeding, date filed, nature of the proceeding, the Bankruptcy Judge
      and court to whom assigned, whether still pending and, if not, the disposition thereof. If none, so indicate, Also, list
      any real property included in Schedule A/B that was filed with any such prior proceeding(s).)
   None

  3.    (if petitioner is a corporation) A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform Act of 1978 has
        previously been filed by or against the debtor, or any of its affiliates or subsidiaries, a director of the debtor, an officer
        of the debtor, a person in control of the debtor, a partnership in which the debtor is general partner, a general partner
        of the debtor, a relative of the general partner, director, officer, or person in control of the debtor, or any persons, firms
        or corporations owning 20% or more of its voting stock as follows: (Set forth the complete number and title of each
        such prior proceeding, date filed, nature of proceeding, the Bankruptcy Judge and court to whom assigned, whether
        still pending, and if not, the disposition thereof. If none, so indicate. Also, list any real property included in Schedule
        NB that was filed with any such prior proceeding(s).)
  None

 4.     (If petitioner is an Individual) A petition under the Bankruptcy Reform Act of 1978, including amendments thereof, has
        been filed by or against the debtor within the last 180 days: (Set forth the complete number and title of each such prior
        proceeding, date filed, nature of proceeding, the Bankruptcy Judge and court to whom assigned, whether still
        pending, and if not, the disposition thereof. If none, so indicate. Also, list any real property included in Schedule A/B
        that was filed with any such prior proceeding(s).)
  None

 I declare, under penalty of perjury, that the foregoing is true and correct.
  Executed at      Santa Fe Spilngs                                 ,   California.
                                                                                                       Mandeepsingh
 Date:                                                                                                 Signature of Debtor I



                                                                                                       Signature of Debtor 2




                   This form is mandatory. It has be.n approved for usa   m the Utited Statea Bankruptcy Court for the Central Diatn 01 Ceiifornta.
October2018                                                                Papal               F 10152.1.STMT.RELATEDCASES
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  Attorney or Party Name, Address, Telephone & FAX Nos., FOR COURT USE ONLY
  State Bar No. & Email Address
  Michael Jay Berger
  9454 Wilshire Boulevard, 6th floor
  Beverly Hills, CA 90212
  (310) 2714223 Fax: (310) 2714805
  California State Bar Number: 100291 CA
  michael.berger@bankruptcypower.com




  D Debtor(s) appearing without an attorney
  • Attorney for Debtor

                                                          UNITED STATES BANKRUPTCY COURT
                                                            CENTRAL DISTRICT OF CALIFORNIA

  In re:
                                                                                        CASE NO.:
                ASLM Investments Inc.
                                                                                        CHAPTER: 11




                                                                                                            VERIFICATION OF MASTER
                                                                                                           MAILING LIST OF CREDITORS
                                                                                                                         (LBR 1007-1(a)]

                                                                    Debtor(s).

Pursuant to LBR 1007-1(a), the Debtor, or the Debtor’s attorney it applicable, certifies under penalty of perjury that the
master mailing list of creditors filed in this bankruptcy case, consisting of 2 sheet(s) is complete, correct and
consistent with the Debtor’s schedules and I/we assume all responsibility for errors and omissions.

 Date:                                  ‘



                                                                                              Signature of Debtor I

 Date:


 Date:
                3/9’y                                                                         Sig      t re of Debtor 2 (joint d


                   (                                                                          Sign ure of Attorney f r                 bt r (if applicable)




                       This rorm is optional. It has been approved for use in the United States Bankwplcy Courl for the Central District of California.          -




December 2Q15                                                                                           F 1007-1 .MAILING.LIST.VERJFICATION
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                        ASLM Investments Inc.
                        12868 Claremore Street
                        Victorville, CA 92392


                        Michael Jay Berger
                        Law Offices of Michael Jay Berger
                        9454 Wilshire Boulevard, 6th floor
                        Beverly Hills, CA 90212


                        A J Dudheker
                        Mortgage Broker, Owner
                        17100 Norwak Blvd., Ste 112
                        Cerritos, CA 90703


                        Ariel Bouskila
                        80 Broad Street, Ste 3303
                        New York, NY 10004


                        California State Board of Equaliz.
                        P 0 Box 94289
                        Sacramento, CA 94279


                    Diamond Stone Capital
                    663 East Crescemt Ave
                    Ramsey, NJ 07446


                    Law Office of Jason Gang, PLLC
                    1245 Hewlett Plaza, #478
                    Hewlett, NY 11557


                    Mulligan Funding, LLC
                    4715 Viewridge Ave., Ste 100
                    San Diego, CA 92123
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                        Newco Capital Group
                        90 Broad St Ste 903
                        New York, NY 10004


                        Open Bank
                        1000 Wilshire Blvd., #500
                        Los Angeles, CA 90017


                        Samson Funding
                        17 State Street
                        New York, NY 10004
                                                                                                  ___________
                                                                                                                      _____




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       Attorney or Petty Name. Address, Telephone & FAX Nea., and State Bat No. &                 FOR COURT USE       ONI.Y
       Email Address
       Michael Jay Berger (SBN 100291)
       Law Offices of Michael Jay Berger
       9454 WIlshire Boulevard, 6th floor
       Beverly Hills, CA 90212
       (310) 271-6223 Fax: (310) 271-9805
       E-mail: M1chaeI.Bererbankruptcypowercom




      ljij Attorney for ASLM Investments Inc.
                                                           UNITED STATES BANKRUPTCY COURT
                                                            CENTRAL DISTRICT OF CALIFORNIA

      Irtre:                                                                                  CASE NO.:
               ASLM Investments Inc.                                                          ADVERSARY NO.:
                                                                                     Debtor., CHAPTER: 11

                                                                                  Plaintiff(s),
                                                                                                   CORPORATE OWNERSHIP STATEMENT
                                                                                                      PURSUANT TO FRBP 1007(a)(1)
                                                                                                        and 7007.1, and LBR 1007-4

                                                                                                                                No hearing]
                                                                           Defendant(s).

  Pursuant to FRBP 1007(a)(1) and 7007.1, and LBR 1007-4, any corporation, other than a governmental unit that is a debtor in
 a voluntary case or a party to an adversary proceeding or a contested matter shall file this Statement identifying all its parent
 corporations and listing any publicly held company, other than a governmental unit, that directly or indirectly own 10% or more
 of any class of the corporation’s equity interest, or state that there are no entities to report. This Corporate Ownership
 Statement must be tiled with the initial pleading filed by a corporate entity in a case or adversary proceeding. A supplemental
 statement must promptly be filed upon any change in circumstances that renders this Corporate Ownership Statement
 inaccurate.

 I,  Mandeep Singh                                               the undersigned in the above-captioned case, hereby declare
                (Print Name of Attorney or Oeclaraot)
 under penalty of perjury under the laws of the United States of America that the following is true and correct:




                   This form Is   oponaI.   It has been   approved   for   use   by the UnIted States Bankruptcy Couit for the Cenual DIstsict Cl Cab tomb.
December2012                                                                                                            F 1007-4.CORP.OWNERSHIP.STMT
                             ___________
                                                                                                  ___________
                                                                                                             ___________
                                                                                                                                                           _




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  [Check the appropriate boxes and, if applicable, provide the required Information.]
  1.      I have personal knowledge of the matters set forth in this Statement because:
               I am the president or other officer or an authorized agent of the Debtor corporation
          D I am a party to an adversary proceeding
              I am a party to a contested matter
          D I am the attorney for the Debtor corporation
  2.a.        The following entities, other than the debtor or a governmental unit, directly or indirectly own 10% or more of any
              class of the corporation’s equity interests: Mandeop Slngh holds a 100% equIty ownership Interest in the
               Debtor.

     b.     0 There are no entities that directly or indirectly own 10% or more of any class of the corporation’s equity interest.
                                                                                            By:
   Date                                                                                            Signature of Debtor, or ittorney for Debtor

                                                                                            Name:        Mandeep Singh
                                                                                                         Printed name of Debtor, or attorney for
                                                                                                         Debtor




                ThIs form is optional. It has been approved for use by the United Stales Bankruptcy Court for the Central District of California.
December 2012                                                                                                F 1007-4.CORP.OWNERSHIP.$TMT
